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                                    Determining When a                          Cas~        Requires BCU Handling
                                                                                                       (Continued)

                        For Cases Indicating Criminal Issues (cont.)

' ··-··.-~., ....~,,"~·"-···· ··If the
                              req uesto F·answe red·-~~Yes!.~ · to ...cri min a lity questions -on--- -· ·                 ,_   ... -··    ·-·· ..   -- . .   ...

                        his/her DACA request then:



                                   There is. clear derogatory information provided by             Case is handled by the
                                   the reauestor and/or in our records;.                          BCU DACA Team.
                                   No derogatory information can be found in our ·
                                   re~ords or it is unclear, and the requestor did not
                                   provide any additional information or
                                   documentation;




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                 Handling DACA Cases with Public Safety Concerns

                         Criminal Cases with EPS Concerns
· -,__,~"'~,..,.._..,~,.. lf.the~B.C_U,,~de.te:rmin.e.s the .cas.ap.res.e.ntsJssue.s .o.f. criminality, ____._. . .. ····~-.,....,-...,~.·-· ·- --. ,.,---.. --.,~
                         processing of the DACA request must be categorized as either EPS
                         or non-EPS.

                       • Criminal cases d.e termined to be Non-EPS are handled and
                         adjudicated by the BCU DACA Team.

                      · • Criminal cases determined to be E·P s are handled by the .BCU
·.·· .   .   .
                    ·· ·- · -··o ACA Team~ ·T he· BCU DACA Team shall refer the case to ICE
                               prior to adjudicating the case, eve·n if USCIS can deny the
                               DACA request on its merits. If ICE do·e s not accept the referral,
                               the BCU will adjudicate the case.

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Handling ·cases Involving NS Concerns (Continued)

    If the requestor answered "Yes" to questions on the 1-821 D related to
    ~S issues of violent crimes_ , terrC?rism, human rights violations,
                                                                                                                                                                                                                             :::0
    persecution of others, etc. then:                                                                                                                                                                                        CD
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                                   Handling Cases lndi.cating Possible Gang
                                          Memb~rship I Activity (C.ontinued)

    If the requestor disclosed issues indicating gang membership on
    his/her 1-821 D, then:



              There is clear derogatory                            Case is handled by the BCU
              information provided by the                          DACATeam.
              requestor and/or in our records,
              No.derogatory information can be
              found in our records or it is
              unclear and the requester di.d not
                rovide information,



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       When Supervisory Review is Required for Denials Involving
          Issues of Criminality, Public Safety, or National Security

Denials due to the following issues of criminality require supervisory review:

·• Conviction for any crime committed before reaching age 18, and was tried
   as an adult; or

• Conviction for a "significant misdemeanor;" or
                                                                      .                                 .
· • No crimina.1convictions and outwardly appears to meet the guidelin.es in the
    Secretary's June 15, 2012 memorandum; however, based on other
    derogatory information obtained through routine systems and
    background/security checks, there are credible reasons to believe that the
    requestor poses a threat .to national security or public safety. _ In these
    instances the officer.should refer the proposed denial for supervisory
    review: after the case has been processed through the CARRP process.

·NOTE: These are not the only denials that require supervisory                       r~vi ew.    T he
 full list is discussed is the Decisions module.
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                                                                            Module Objective
 • Understand how to detect potential fraud in the DACA context and
   when to refer to CFDO for further research and evaluation.
 • Identify what work product you can expect from the CFDO.
     1
••       Describe the pU-rpose of the Intelligence Compass.




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                                      Fraud Review and Fraud Referrals

In the normal course of adjudication, officers should be aware of potential
fraud indicators.


Fraud encompasses any material representation or omission,
accompanied by.an intent to deceive.


Fraud-related concerns should be addressed according to the March
2011 Fraud. Detection SOP and the 2008 ICE/USCIS Investigation of
Immigration Benefit Fraud MOA.




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          Fraud Review and Fraud Referrals (Continued)
In the immigration conte):(t, fraud is a willful misrepresentation of a
material fact. An omission of a. material fact can also constitute a willful
misrepresentation, rising to the revel of fraud.

When reviewing an imniig·ration reque~t, a..findihg of fraud is generally
supported the by presence of the following three elements.
     1. There must have been a misrepresentation or concealment
          of a fact;
     2. · The misrepresentation or concealment must have been
          willful; and
     3. .The fact must be material. . ·

A finding of fraud is also supported when the immigration filing contains
fraudulent documents that are germane.



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                                      How to Evaluate Inconsistencies

Many DACA requesters were. brought to the United States as
young .children by their parents.                     .. __ ..
Documents that officers are generally accustomed to seeing may or
may not be available.
The absence of a given document does· not in and of itself mean
that a guideline is not met, nor is· it necessarily an indicator of fraud .
DA~A    req.µestors have spent a significant portion of their live~ in
 the United States as minors: Thus, the requisite intent normally
.associated with fraud and willful misrepresentation ·may not be
 present.

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                           H.o w to Evaluate Inconsistencies (Continued)
  Applying the concept of the totality·of the circumstances, officers should·look
  at the entire record, in.eluding the DACA request, the supporting documents,
  tt:ie results of background and security checks, and any information obtained
. from _routine systems checks.

 One example of an inconsistency could be the use of different names.
 • Officers might see name discrepancies in school or employment records.
 • Name discrepancies! standing alone, may not necessarily be a fraud _indicator.
 • Officers need not issue an RFE for evidence-of a legal name change or ot her
   eviden·ce; or refer the case to CFDO, if they can reconcile the discrepancy by
   applying .the totality of the circumstances test.




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                                                        Potential Fraud Indicators
    In the DACA context, examples               of p otential fraud indicators could
    include: .




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                                                                                Fraud Indicators (cont'd)




                  When needed, CFDO can call the State· DOE to verify education.




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                                             FONS in the DACA Process
• The Fraud Detection and National Security (FONS) Directorate
  administratively investigates allegations of immigration benefit fraud
  and produces a Statement of Findings (SOF) that adjudicators use to
  render their decisions.
• In the DACA context, the SOF will docum~nt all fraud findings and
  u.nderlying issues impacting the favorable exercise of prosecutorial ·
  discretion.
• When adjudicating Forms 1-821 D and 1-765 for DACA, officers will
  refer.cases to the CFDO via a fraud referral sheet when there are
  articulable elements of fraud found within the filing. Officers will refer
  cases prior to taking any adjudication action even if there are issues
  which negate the.exercise of prosecutorial discretion to defer
  removal.



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          The Work Product You Can Expect From the CFDO
           Officers can expect a complete SOF documenting the results of the
         . following:


               • Extensive syste.ms checks                            • Phone calls
                     • USCIS systems                                      • Schools
                     • LEA systems                                        • State Departments .of
                     • Other government systems                             Education
                                                                          • Employers

                          • Electronic records ·
, · ·· .... -·.· - ~~ ... .... · e Commercial databases


                     • Public records
                     • Education systems


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                                                                  Limitations of the CFDO
• Interviews only in rare circumstances
• Schools may not be able to divulge information to the CFDO due to
  privacy laws - great variation
                           .
                                 in school documents.
                                                .

- . • · ·A s. a .result, the CFDO's inability to obtain any information from the school is
         not necessarily indicative of fraud.

• Always remember, many DACA requestors might have limited
  documentary evidence.
                                                        .                               .

     • Sometimes one document can meet more than one guideline and other ·
       times, .several documents, viewed. together, can meet a single g~ideline .




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                                           What Will You Receive from CFDO?
• Results of investigation documented in Statement of Findings (SOF)
• Fraud Found, Fraud Not Found, Inconclusive
• Fraud Found SOF can be used to issue a Notice to Appear
• One piece of the evidence puzzle
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                                                                             CFDO Referrals and Responses
                       • The CFDO findings will be recorded in FONS-OS and reported in an
                         SOF and placed in the A-file to. enable officers to make accurate and
                         informed decisions on the DACA requests .
..._,. .........,. .,,,, _.--,.~ ...! ......Den.i.al.s..base.d   oo a.Jinding .. of fraud must be recorded in C3.
                       • DACA cases denied due to confirmed fraud shall be referred for NTA
                         issuance in accordance with the NTA memorandum dated November
                         7, ·2011. The a·p propriate NTA charge will be determined on a case-
                         by-case basis in consultation with local counsel.




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          Inadmissibility Due to Fraud or Misrepresentation
Individuals requesting DACA are not subject to the 212 inadmissibility
grounds, because they are neither applying for a visa nor seeking admission
to the United States~ Instead, they are seeking the exercise of for deferral of
removal under DACA.
                        -1   •   --·~- • • \   "-••   •    • •• ·   •   ,   ••   -   •.Jo   •   • •   • • ..   .,. _.   _   , . , _.:.•... ::• •   _:,. _ _ ..,_ ,..._ • : - -   • .   ••   •   _   - · ••• ' • •   '';"",   -•- • -   ·~ .· ·~.,.,._ , , , ,..., ..L :";i..3;.:_~ ...· - : • •   H•.., .;.   ""=-···- · ."-   -



If Fraud.is found in a DACA request
The presence of confirmed or suspected fraud issues are germane in
deciding whether it is appropriate to defer removal under DACA.
•   As a result, when an individual is found to have committed fraud in connection with
    a DACA request, the DACA request is denied not because the individual is
    inadmissible due to fraud, but rather, because the fraud negates the exercise of
    discretion to defer removal.
     G   Denials are to be supported by a properly documented SOE
     •   NTA issuance is in accordance with the NTA memorandum dated November
         7, 2011.

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                                                                                              The Intelligence Compass
  (I         •       Identifies trends and patterns in immigration, migrant flows, and fraud practices, as
      I              well as fraud indicators. It is an additional tool available to officers-to assist them in
                     established fraud detection procedures
  ;          1:1 .               Does not in itself establish an element of fraud . It may assist officers in identifying
·-..).,.. ..,......,. - ··~·-~-~~additional ··lines---of·inquiry ..or··identifying·-cases for-further scrutiny or referral t o Center ·· ···
                                 Fraud Detection Operations· (CFDO) or other FONS officers
             11
                     No information in the Intelligence Compass will be used to determine the adjudication
                     of any immigration benefit




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                                                                      Module Objectives

     The objective of this section is to :
     • Understan9 plain language basics;
     • Introduce the use of the standard DACA RFE templates, which are
       mandatory; and;
     11
           Understand and apply the elements of the new RFE templates .




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                                             Plain Language Basics
USCIS policy directs the use of plain language in RFEs, NOIDs,. and
other communications with its customers


Use of Plain Language in DACA-related RFEs and NOIDs:
   • Shows customer focus
   • Communicates more effectively
   •. Reduces time spent explaining
                     -

   • Improves·compliance
   • Reduces ambiguity and complaints
   • Reduces the likelihood of ·S RMTs or possible litigation


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                                                                                   Plain Language Basics (Continued)
                A goal of Plain Language is that the intended message is clearly and
                completely understood the first time an individual reads the document.
·· ~-·   ·",. .·-- ·- ' ·-Tu··create~·p1a-in Languag·e ·content for·DACA                                       communication~   use:
                    • Simple words
                    • Active voice
                    • "You" in place of "the requestor''
                .. • Short sentences (approx. 20 words or less) and brief paragraphs
                     (7 sentences or less)
                    11   Bulleted lists
                   • . Extra blank spaces on the page for readability.



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                                                                                                  Word and Phrase Usage
    WORD TO AVOID                                                                                     SUGGESTED ALTERNATIVES
e          allege                                                                                 •    state; explain; say; suggest
                    - .   -:·   .   .   ..   .             ....    ... . .... -- ... ·- - ·   .
                                                                                                                                                            •   •   • •r   • • ..   • ., ~   • ., ,., ••• ' •


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•· ·claim                                                                                                                                           ---·
• · failed to submit                                                                              •    did not submit
•          ludicrous                                                                              •    not credible
•          preposterous                                                                           •    not credible
•          merely                                                                                 e    on·l y; o r delete altogether
~          outlandish·                                                                            •    not c redible.
                                                 ..
e          poppycock                                                                              e    not credible·
•          prove                                                                                  •    show; ·establish
e          ridiculous                                                                             •    not credible


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                                                                Clear and Focused RFEs
                     A series of RFE templates have been created for DACA and are
                     included in the DACA SOP. These DACA RFE templates w ill be
                     loaded to all centers' common drive/correspondence generator. Use
~-n- ~.,,~,····· ··~ 0f.these-- RF-E·· tem-pl·a tes ~is ·· m-a Adatory .·. --1-nd·ivid ual ized, locally ·created ·
                     RFEs shall not be used. When an officer encounters an issue for
                     which there is no RFE template, the officer must work throug_h
                     his/her supervisor to identify the iss·u e .for SCOPS so that a template
                     can be created.
         11
               Better requests lead to better RFE responses.

         ll1   T he DACA ·RFE·temp·l ates implement standards from the RFE
               initiative.



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                                                                                                                                                                                                                                                                      RFE Tips
                             •     A key goal for DACA is consistency.
                             111   Use the standard DACA RFE templates only .
-.. .. -. ....   .-   .- .              -·         .   ~·   .     -
                                                                .- .                 . -··- - . .... ......   -         -   .. .:. ........ -..... .   •_   . .. ,,   -· . . . .. . . . _   ••   ~   .... . . . . .. .. _ .":.L...-. ••   ;.· • • ••• ••   •   ··-'"1---::...:.. .- -... ~ :., :· ....:;...•·. ...._,,,,... ; •• ·- ~-- -.. - _..,••:..,.. · !_ ~· ..:::::... ~-.   _ .. -~ - .. - , .. . . .


                             11
                                   Add appropriate additional language to inform the requestor:
                                   1.          What evidence was already submitted,
                                   2.          Why the previously submitted evidence is deficient, and
                                   3.          What evidence he/she needs to provide.




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                                                                        Neutral-Tone
                                            .          .


• ISOs are "triers of the facts." This means that RFEs will
  have a neutral tone and will weigh evidence to
  determine only whether the basic requireme'nts have
  been met.




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                                                                                                                           Use of Legal Citation

                                                       • The RFE will use Plain Langua.ge. Officers should not
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                                                                   ·Module Objectives

The objective of this section is to:
• Provide a basic understanding of the requirements to properly update
  C3;
• Understand the C3 updates required for BCU and CFDO activity;
• Understand the supervisory review process for denials;
• Understand the categories that require supervisory review; .and
• Introduce the mandatory DACA denial template.




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                                                        Processing Decisions

  • All actions taken on a DACA request m~st be reflected on C3,
.... including approval, continuation, denial or a customer service
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     1.nqu1ry.
• Standard History Action Codes will be used with the exception
  of SRMT actions.                   ·                 ·

• Denials based on a fraud finding must reflect its designated
  History Action Code ["EC"].




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                                                       Processing Decisions BCU and CFoo·C3 codes

                                          • Gases being transferred to the BCU DACA Team - C3 shall be
                                            updated with ["FF5"] Sent to the Background Check Unit (BCU) for
                                            resolution .
.,,,., .~- ?'<· ~ ··
             .•             ... . , ..   ~.        G·a ses·being·returned·to Adjudications·from the··BCU DACA ·Team-·or ···.'·· ~ -.. -.·· ·
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                                                   just prior to final adjudications by the BCU DACA Team shall be
                                                   updated with ["HCC5"] Received from Background Check Unit (BCU)
                                                   with Resolution
                                          1i1      ·c ases being transferred to the CFDO with a fraud referral ·shall be
                                                    updated with ["FF1 "] Sent to the Fraud Detection Unit (FDU) for
                                                    Analysis
·- ..    ·        .......         · · 11 ··       ·Cases-·being returned to Adjudications from the CFDO shall be
                                                   updated with ["HCC1 "]Returned from Fraud .-Detection Unit (FDU)
                                                   with Results.



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                                          Processing Decisions - Fraud Indicators

                11           If fraud indicators are present during the case review process,
- ··· -~·· -· ..... · ··~ ...the c.ase..sb.all..be.forw.a rd.ed to_.th.eJ;.FDO... wittl._a ,co.m.pl.e.t ed.. ~.· ~---··,. ·..·; ~.----, .·.-.-.··-·~·~··· · · , -­
                             fraud ·referral sheet prior to any further adjudicatory actions.
                11     If the case is returned with a finding of fraud, the filing shall be
                     · denied with a finding of fraud "EC".




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                                                                                                                                                                              Processing Decisions - RFE
                                             For DACA requests, when requesting additional evidence, an RFE
                                             will be used. · A NOID will rarely be used. Appendix D has a list of                                                                                                                                                                                                                                                                                                            OJ
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                                             DACA RFE call ups to be used when processing a DACA request                                                                                                                                                                                                                                                                                                                     (fl
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                                                Processing Decisions - NOID

        Following a determination to issue a NOID, the Service Center must                                    OJ
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        take the following steps to process the NOID.                                                         (fl
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